
771 N.W.2d 609 (2009)
2009 ND 158
In the Matter of the Application for DISCIPLINARY ACTION AGAINST Dennis D. FISHER, a Person Admitted to the Bar of the State of North Dakota.
Disciplinary Board of the Supreme Court of the State of North Dakota, Petitioner
v.
Dennis D. Fisher, Respondent.
No. 20090165.
Supreme Court of North Dakota.
September 4, 2009.
PER CURIAM.
[¶ 1] Dennis D. Fisher was admitted to practice as an attorney in the courts of North Dakota on October 10, 1984, and his name has appeared since that date on the roll of attorneys admitted to the Bar of North Dakota.
[¶ 2] Dennis D. Fisher was convicted in Fargo Municipal Court of two misdemeanors involving theft. The items taken were a Vulcan folding knife, valued at $124.99, on August 1, 2008, and a Pasayten knife, valued at $179.00, on May 24, 2008. Both thefts were from a Fargo store. Based on this conduct, Fisher's license to practice law was suspended on an interim basis by this Court on August 21, 2008, Disciplinary Board v. Fisher, 2008 ND 151, 754 N.W.2d 802, pending final disposition of the underlying disciplinary proceedings. A Petition for Discipline was subsequently filed September 9, 2008, and Fisher filed a Response dated October 2, 2008.
[¶ 3] On May 27, 2009, a Hearing Panel of the Disciplinary Board forwarded its Report to the Supreme Court. The Hearing Panel recommended that Fisher be suspended from the practice of law for two years from the date of his interim suspension on August 21, 2008, and pay costs of $3,987.45. No objections to the report and recommendations of the hearing panel were received.
[¶ 4] The Hearing Panel found that ten years ago Fisher was disciplined by the Supreme Court for stealing a "Buck Tool" with an approximate value of $59.99, from a Grand Forks store, and for conviction of a class B misdemeanor of theft of two pair of walking shorts in Cass County District Court. Disciplinary Board v. Fisher, 1997 ND 234, 571 N.W.2d 370. In that matter, Fisher received a suspension from the practice of law for 24 months, stayed on the condition that he commit no further acts of theft during that 24-month period.
[¶ 5] The Hearing Panel further found that after his 1997 shoplifting incidents, Fisher sought care for his preexisting depression and compulsive shopping. During the intervening eleven years, Fisher had no other convictions nor any further discipline. Fisher maintained an active law practice prior to and after his 1997 convictions. None of the events for which Fisher was previously disciplined nor the events of the current Petition involve any client funds or cases. After Fisher's convictions for the 2008 shoplifting events, he sought further help for the problems he was having and was diagnosed with major depression and impulse control disorder of kleptomania. Fisher has been receiving treatment since October 2008. The Hearing Panel found that Fisher was remorseful for the impact his actions have had on his family, friends and law partners; and he has been open and truthful about the incidents which resulted in the prior discipline as well as the thefts resulting in the current disciplinary action.
*610 [¶ 6] The Hearing Panel concluded that Fisher's convictions for theft in 2008 are convictions of a serious crime within the meaning of Rule 4.1, North Dakota Rules of Lawyer Discipline and are violations of Rule 1.2(A)(2) of the North Dakota Rules for Lawyer Discipline, which provides a lawyer may be disciplined for committing a criminal act that reflects adversely on the lawyer's honesty, trustworthiness, or fitness as a lawyer. The Court considered the matter, and
[¶ 7] ORDERED, the Report of the Hearing Panel is accepted, and Dennis D. Fisher is suspended from the practice of law for two years effective August 21, 2008.
[¶ 8] FURTHER ORDERED, Dennis D. Fisher pay the costs and expenses of the disciplinary proceeding in the amount of $3,987.45, payable to the Secretary of the Disciplinary Board.
[¶ 9] FURTHER ORDERED, Dennis D. Fisher comply with N.D.R. Lawyer Discipl. 6.3 regarding notice.
[¶ 10] FURTHER ORDERED, Dennis D. Fisher comply with N.D.R. Lawyer Discipl. 4.5 regarding reinstatement.
[¶ 11] GERALD W. VANDE WALLE, C.J., DANIEL J. CROTHERS, MARY MUEHLEN MARING, DALE V. SANDSTROM, and CAROL RONNING KAPSNER, JJ., concur.
